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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN


LUCIANA BERCEANU, on her own behalf and                 )
on behalf of her beneficiary daughter, and all others   )
similarly situated, JUDY HERNANDEZ, on her              )
own behalf and on behalf of her beneficiary             )
husband, and all others similarly situated,             )       Case No. 3:19-cv-568-wmc
                                                        )
                        Plaintiffs,                     )
                                                        )
        v.                                              )
                                                        )
UMR, INC.,                                              )
                                                        )
                        Defendant.                      )


                  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        Plaintiffs Luciana Berceanu and Judy Hernandez (“Plaintiffs”) respectfully move this Court

for class certification pursuant to Fed. R. Civ. P. 23(b)(2), or, in the alternative, pursuant to Fed. R.

Civ. P. 23(b)(3) or 23(c)(4). Plaintiffs’ motion seeks an order: (1) certifying the proposed Class

defined as: Any member of a health benefit plan governed by ERISA whose request for coverage of

residential treatment services for a mental illness or substance use disorder was denied by UMR, in

whole or in part, within the applicable statute of limitations, based on UBH’s Level of Care

Guidelines or UBH’s Coverage Determination Guidelines, and such denial was not reversed

following an administrative appeal.; (2) appointing Plaintiffs as Class representatives; and

(3) appointing Zuckerman Spaeder LLP, Psych-Appeal, Inc., and Gingras, Thomsen & Wachs as

Class Counsel. Plaintiffs’ motion relies on the accompanying Memorandum of Law and exhibits

thereto, all pleadings on file in the above-captioned matter, and such other support as may be

presented to the Court.




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Dated: October 16, 2020             Respectfully submitted,


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